 Fill in this information to identify the case:



 Debtor 1 Thomas L Brown


 Debtor 2
 (Spouse, if filing)

 United States Bankruptcy Court for the                    Western District Of Pennsylvania


 Case number 19-22928




Official Form 410S1

Notice of Mortgage Payment Change                                                                                                         12/15

 If the debtor's plan provides for payment of post petition contractual installments on your claim secured by a security interest in the debtor's
 principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
 to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1 .



 Name of creditor: ABS Loan Trust V                                                    Court claim no. (if known): X




 Last four digits of any number
you use to identify the debtor's          8829                                         Date of payment change: 12/25/2022
 account:                                                                              Must be at least 21 days after date of this notice


                                                                                       New total payment:             $ 335.12

                                                                                       Principal, interest, and escrow, if any


  Part 1:         Escrow Account Payment Adjustment


  1.   Will there be a change in the debtor's escrow account payment?

       Kl   No


              Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
       the basis for the change. If a statement is not attached, explain why:



                  Current escrow payment: $                                             New escrow payment: $




  Part 2:         Mortgage Payment Adjustment


  2.   Will the debtor's principal and interest payment change based on an adjustment to the interest rate in the debtor's
       variable-rate note account?

            No
       IX] Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable non bankruptcy law. If a notice is not
            attached, explain why:


                 Current interest rate:   6.99000 %                       New interest rate:        7.74000 %


                 Current principal and interest payment: $ 325.00 New principal and interest payment:           $ 335.12




Official Form 410S1                         Notice of Mortgage Payment Change                                                    page 1
Debtor 1 Thomas L Brown                                                            Case Number (ifkn own ): 19-22928
              First Name           Middle Name             Last Name




  Part 3:           Other Payment Change




  3.   Will there be a change in the debtor's mortgage payment for a reason not listed above?


        0     No


        Q     Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan
              modification agreement. ( Court approval may be required before the payment change can take effect.)

                    Reason for change:


        Current mortgage payment: $                                        New mortgage payment:     $



   Part 4: Sign Here


       The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address
       and telephone number.


       Check the appropriate box.


       O I am the creditor.
       El I am the creditor's authorized agent.

       I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of
       my knowledge, information, and reasonable belief.




            Is/ Roger Fay, Esq., ID No. 315987                                                     Date
                                                                                                           12/02/2022
            Signature




  Print: Roger Fay, Esquire                                                                        Title   Attorney
             First Name              Middle Name                       Last Name




  Company: Milstead & Associates. LLC


  Address          1 E. Stow Road
                          Number              Street




                   Marlton                         NJ           08053
                          City                     State        Zip Code




  Contact phone:          (856) 482-1400                                                 Contact Email: rfay@milsteadlaw.eom




Official Form 410S1                                Notice of Mortgage Payment Change                                           page 2
                                                                            Sign up for paperless delivery

QPQ ^ortfpUo                                                                at www.spservrcing.cam

k_/l     k_y SERVICING, me.                                                                              Paperless

November 28, 2022




                    THOMAS L BROWN
                    587 THOMPSON RUN RD
                    PITTSBURGH, PA 15237




Account Number:
Property Address:                 SON RUN RD
                         PITTSBURG, PA 15237

Dear Customer(s):

SPS is sending this to you to provide information regarding the lien on the real property referenced above. Our
records indicate that your obligation has either been discharged or is subject to an automatic stay order under the
United States Bankruptcy Code. This notice and any enclosed documents are for compliance and informational
purposes only and do not constitute a demand for payment or an attempt to collect such obligation. Even though your
personal liability on the note may be discharged or subject to an automatic stay, the terms of the mortgage remain in
effect and the owner of the mortgage, as lien holder, continues to have a lien on the real property.


SPS is committed to providing you with the information you need to manage the account's home mortgage payments.


CHANGES TO THE MORTGAGE INTEREST RATE AND PAYMENTS ON 12/25/2022.

Under the terms of the account's Adjustable-Rate Mortgage, you had a 1 month period during which the interest rate
and principal and interest payment remained the same. The interest rate initially changed on 12/25/2018 and may
change every 1 month(s) for the life of the mortgage. The rate is scheduled to change again on 12/25/2022 with a
corresponding payment change on 01/25/2023.

                                                  Current Rate                    New Rate
                                               and Monthly Payment           and Monthly Payment


                       Interest Rate                 6.99000%                        7.74000%
                         Principal                    $170.57                         $165.22
                         Interest                     $154.43                         $169.90
                Escrow (Taxes & Insurance)             $0.00                            $0.00
                 Total Monthly Payment                $325.00                         $335.12
                                                                                 Due 12/25/2022



Interest Rate: We calculated the interest rate by taking a published "index rate" and adding a certain number of
percentage points, called the "margin". Under the loan agreement, the index rate is 7.00000% and the margin is
0.74000%. The index is the WALLSTREET JOURNAL PRIME RATE and is published DAILY IN THE WALLSTREET
JOURNAL.


Rate Limits: The rate cannot go higher than 24.00000% or less than 0.00000% over the life of the loan.
New Interest Rate and Monthly Payment: The table above shows the new interest rate and new monthly payment.
The new payment is based on the WALLSTREET JOURNAL PRIME RATE, the margin, rounding of 0.00000%, the
account balance of $26,341.54, and the remaining amortized loan term of 110 months.

Please note that if you are currently set up on our automatic withdrawal program (ACH), the monthly payment will
change to match the amount provided in this notice. This change will be made as of the first scheduled automatic
payment after the date this payment change is effective.

Prepayment Penalty: None

If you seek an alternative to the changes to the interest rate and payment, the following options may be possible
(subject to lender approval):
     -  Refinance the loan with another lender;
     -  Sell your home and use the proceeds to pay off the current loan;
     -  Modify the loan terms with us;
     -  Payment forbearance, which temporarily gives you more time to pay the monthly payment.

Please contact our Customer Service Department toll-free at 800-258-8602 for more information. Representatives are
available Monday through Friday between the hours of 8 a.m. and 9 p.m., and Saturday from 8 a.m. to 2 p.m., Eastern
Time.

If you would like counseling or assistance you can contact the following:     U.S. Department of Housing and Urban
Development. For a list of homeownership counselors or counseling organizations in your area, go to https://apps.fi
ud.qov/offices/hsq/sfh/hcc/hcs.cfm or you can call FIUD at 1-800-569-4287.

Sincerely,

Select Portfolio Servicing, Inc.

   Esta carta contiene informacion importante concerniente a sus derechos. Por favor, traduzca esta carta.
  Nuestros representantes bilingiies estan a su disposicion para contestar cualquier pregunta. Llamenos al
                            numero 800-831-0118 y seleccione/marque la opcion 2.

  This information is intended for informational purposes only and is not considered an attempt to collect a
                                                         debt.
                  IN THE UNITED STATES BANKRUPTCY COURT FOR
                     THE WESTERN DISTRICT OF PENNSYLVANIA

IN RE:                                            :
Thomas L Brown,                                   :   Bankruptcy No. 19-22928-TPA
                   Debtor,                        :   Chapter 13
                                                  :
ABS Loan Trust V,                                 :
                 Secured Creditor,                :
                                                  :
Thomas L Brown,                                   :
                   Debtor / Respondent,           :
                                                  :
and                                               :
Ronda J. Winnecour,                               :
                Trustee / Respondent.             :



                          CERTIFICATION OF SERVICE OF
                      NOTICE OF MORTGAGE PAYMENT CHANGE

        I certify under penalty of perjury that I served the above captioned pleading on the parties
at the addresses specified below or on the attached list on December 2, 2022. The type(s) of
service made on the parties (first-class mail, electronic notification, hand delivery, or another
type of service) was: electronic notification and first-class mail.

        If more than one method of service was employed, this certificate of service groups the
parties by the type of service. For example, the names and addresses of parties served by
electronic notice will be listed under the heading “Service by Electronic Notification,” and those
served by mail will be listed under the heading “Service by First-Class Mail.”

Service by Electronic Notification:

Ronda J. Winnecour                                Brian C. Thompson
Suite 3250, USX Tower                             Thompson Law Group, P.C.
600 Grant Street                                  125 Warrendale Bayne Road
Pittsburgh, PA 15219                              Suite 200
Email: cmecf@chapter13trusteewdpa.com             Warrendale, PA 15086
                                                  Email: bthompson@ThompsonAttorney.com
Service by First Class Mail:

Thomas L Brown
587 Thompson Run Rd
Pittsburgh, PA 15237-3972




Dated: December 2, 2022        By: /s/Roger Fay
                               Signature


                               Roger Fay, Esquire
                               Typed Name

                               1 E. Stow Road, Marlton, NJ 08053
                               Address

                               (856) 482-1400
                               Phone No.

                               315987, Pennsylvania
                               List Bar I.D. and State of Admission
                               rfay@milsteadlaw.com
                               Attorneys for Secured Creditor
                               PAWB Local Form 7 (07/13)
